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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 MIMEDX GROUP, INC. and SEAN                        Case No. 1:17-cv-07568 (DAB) (KHP)
 MCCORMACK,
                Plaintiffs,
        v.
                                                    NOTICE OF MOTION FOR
 SPARROW FUND MANAGEMENT LP,                        EXPEDITED DISCOVERY
 A/K/A “AURELIUS VALUE”; VICEROY                    ON AN EMERGENCY BASIS
 RESEARCH; JOHN FICHTHORN; BR
 DIALECTIC CAPITAL MANAGEMENT,
 LLC; and DOES 1-10, inclusive,
                Defendants.


       PLEASE TAKE NOTICE THAT, upon Plaintiffs MiMedx Group, Inc. and Sean

McCormack’s Memorandum of Law in Support of Motion for Expedited Discovery on an

Emergency Basis, and the accompanying Declarations of Daniel L. Brown and David M. Pernini

in support thereof, Plaintiffs MiMedx Group, Inc. and Sean McCormack (together, “Plaintiffs”),

by and through their counsel Sheppard, Mullin, Richter & Hampton, LLP, Wargo & French LLP

and Mclaughlin & Stern, LLP, shall move before the Honorable Deborah A. Batts, U.S.D.J., at

the United States Courthouse, 500 Pearl Street, Courtroom 24B, New York, New York 10007,

on a date and time to be determined by the Court, for an Order granting Plaintiffs leave to

conduct expedited discovery pursuant to Rule 26(d)(1) of the Federal Rules of Civil Procedure,

and for such other and further relief as the Court may deem just and proper.

       PLEASE TAKE FURTHER NOTICE that, in accordance with Local Rule 6.1(a),

opposition papers to this motion shall be served within seven days after service of the moving

papers, and reply papers shall be served within two days after service of the answering papers.




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Dated: New York, New York
       October 6, 2017


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Counsel for Plaintiff MiMedx Group, Inc.

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      BR Dialectic Capital Management, LLC
      c/o John Fichthorn
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